                IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:02cr13-LHT-6
                                             )
              vs.                            )       ORDER OF DISMISSAL
                                             )
HENSON JEAN                                  )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment as to the captioned Defendant without prejudice.

       For the reasons stated in the motion and for cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion to dismiss is

ALLOWED, and the indictment herein is DISMISSED WITHOUT PREJUDICE as to the

Defendant Henson Jean only.

       The Clerk shall transmit this Order electronically to the United States Attorney, the

United States Marshal, and the United States Probation Office.

                                                 Signed: August 14, 2007




   Case 3:02-cr-00013-MOC-DCK             Document 145        Filed 08/14/07      Page 1 of 1
